          Case 18-33836 Document 111 Filed in TXSB on 07/26/18 Page 1 of 3




                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION


In re:                                                             Chapter 11

NEIGHBORS LEGACY HOLDINGS, INC.,                                   Case No. 18-33836 (MI)
et al., 1

                                        Debtors.                   Jointly Administered



                            NOTICE OF APPEARANCE AND REQUEST
                        FOR SERVICE PURSUANT TO FED. R. BANKR. P. 2002

          PLEASE TAKE NOTICE that the Official Committee of Unsecured Creditors (the

“Committee”), party in interest in the above-captioned cases hereby appears by its counsel, Cole

Schotz P.C. (“Cole Schotz”). Cole Schotz hereby enter its appearance pursuant to section

1109(b) of title 11 of the United States Code (the “Bankruptcy Code”), and Rule 9010(b) of the

Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and request that the

undersigned be added to the official mailing matrix and service lists in these cases. Cole Schotz

request, pursuant to Bankruptcy Rules 2002, 3017 and 9007 and section 1109(b) of the

Bankruptcy Code, that copies of all notices and pleadings given or required to be given in these

chapter 11 cases and copies of all papers served or required to be served in these chapter 11

cases, including but not limited to, all notices (including those required by Bankruptcy Rule

2002), reports, pleadings, motions, applications, lists, schedules, statements, chapter 11 plans,

disclosure statements and all other matters arising herein or in any related adversary proceeding,



1
  Due to the large number of Debtors in these chapter 11 cases, a complete list of the Debtors and the last four digits of their tax
identification numbers is not provided herein. A complete list of such information may be obtained on the website of the Debtors’
proposed claims and noticing agent at www.kccllc.net/neighbors. The location of Debtors’ principal place of business and the
Debtors’ service address is: 10800 Richmond Avenue. Houston, Texas 77042.



40000/0629-16142217v1
         Case 18-33836 Document 111 Filed in TXSB on 07/26/18 Page 2 of 3




be given and served upon the Committee through service upon Cole Schotz at the addresses,

telephone, and facsimile numbers set forth below:

                                    Michael Warner, Esquire
                                  Benjamin L. Wallen, Esquire
                                        Cole Schotz P.C.
                                301 Commerce Street, Suite 1700
                                     Fort Worth, TX 76102
                                  Telephone: (817) 810-5250
                                   Facsimile: (817) 977-1611
                                Email: mwarner@coleschotz.com
                                Email: bwallen@coleschotz.com

                                                 -And-

                                  Felice R. Yudkin, Esquire
                                        Cole Schotz P.C.
                                       Court Plaza North
                                         25 Main Street
                                    Hackensack, NJ 07601
                                  Telephone: (201) 489-3000
                                  Facsimile: (201) 489-1536
                                Email: fyudkin@coleschotz.com

         PLEASE TAKE FURTHER NOTICE that, pursuant to section 1109(b) of the

Bankruptcy Code, the foregoing demand includes not only the notices and papers referred to in

the Bankruptcy Rules specified above, but also includes, without limitation, orders and notices of

any application, complaint or demand, motion, petition, pleading or request, and answering or

reply papers filed in these cases, whether formal or informal, written or oral, and whether served,

transmitted or conveyed by mail, hand delivery, telephone, telegraph, telex or otherwise filed or

made with regard to the above-captioned cases and proceedings therein.

         PLEASE TAKE FURTHER NOTICE that this Notice of Appearance and Request for

Service Pursuant to Fed. R. Bankr. P. 2002 shall not be deemed or construed to be a waiver of

any of the rights of the Committee, including, without limitation, to (i) have final orders in non-



40000/0629-16142217v1                        2
         Case 18-33836 Document 111 Filed in TXSB on 07/26/18 Page 3 of 3




core matters entered only after de novo review by a higher court, (ii) trial by jury in any

proceeding so triable in these cases, or any case, controversy, or adversary proceeding related to

these cases, (iii) have the reference withdrawn in any matter subject to mandatory or

discretionary withdrawal, or (iv) any other rights, claims, actions, defenses, setoffs, or

recoupments to which the Committee may be entitled in law or in equity, all of which rights,

claims, actions, defenses, setoffs, and recoupments are expressly reserved.

Dated: July 26, 2018                      COLE SCHOTZ P.C.

                                           /s/ Michael D. Warner
                                           Michael D. Warner (TX Bar No. 00792304)
                                           Benjamin L. Wallen (TX Bar No. 24102623)
                                           301 Commerce Street, Suite 1700
                                           Fort Worth, TX 76102
                                           Telephone: (817) 810-5265
                                           Facsimile: (817) 977-1611
                                           Email:    mwarner@coleschotz.com
                                           Email:    bwallen@coleschotz.com


                                           [Proposed] Counsel to the Official Committee of
                                           Unsecured Creditors




                                CERTIFICATE OF SERVICE

        I hereby certify that on this 26th day of July, 2018, a true and correct copy of the
foregoing Notice of Appearance and Request for Notices was sent via ECF Noticing to all
parties receiving ECF Notices in these chapter 11 cases.


                                                     /s/ Michael D. Warner
                                                     Michael D. Warner




40000/0629-16142217v1                       3
